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                      IN THE UNITED STATE DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 Zhejiang Sairen Trading Co., Ltd.,
                                                   Case No. 22-cv-2050
                        Plaintiff,

        v.

 INDIVIDUALS, PARTNERSHIPS, AND
 UNINCORPORATED ASSOCIATIONS
 ON SCHEDULE “A,”

                        Defendants.


                           PRELIMINARY INJUNCTION ORDER

       Before the Court is Plaintiff Zhejiang Sairen Trading Co., Ltd.’s (“Plaintiff”) Motion for

Entry of a Preliminary Injunction enjoining Walmart and all other Defendants identified in the

Amended Complaint from manufacturing, importing, distributing, offering for sale, or selling

infringing products (Plaintiff’s flag holder design patent, the “Patent Design”), and for expedited

discovery and asset restraint (the “Motion”). The Court, having considered the Motion, and any

responses and replies thereto, finds that the Sealed Temporary Restraining Order entered in this

matter (Dkt. No. 9) should be converted to a preliminary injunction and remain in place until

such time as a final judgment is entered in this matter, and that such is warranted under FED. R.

CIV. P. 65. The Court having considered the motion and any responses and replies therefore,

finds that Plaintiff’s Motion should be GRANTED. The Court therefore orders as follows:

1.     Walmart and all other Defendants identified in the Amended Complaint and their

officers, affiliates, agents, and employees are hereby enjoined from:
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       a.      offering for sale, selling, and importing any products not authorized by Plaintiff

       and that include any reproduction, copy or colorable imitation of the design claimed in

       the Patent Design;

       b.      aiding, abetting, contributing to, or otherwise assisting anyone in infringing upon

       the Patent Design; and

       c.      effecting assignments or transfers, forming new entities or associations or

       utilizing any other device for the purpose of circumventing or otherwise avoiding the

       prohibitions set forth in Subparagraphs (a) and (b).

2.     Walmart and all other Defendants identified in the Amended Complaint and their

officers, affiliates, agents, and employees and any third parties receiving actual notice of this

order—including any credit card companies, banks, or payment processors— shall, within five

business days of receipt of such notice, provide to Plaintiff expedited discovery, including copies

of all documents and things currently in their possession, custody, or control related to:

       a.      the identities and all contact information related to Walmart and all other

       Defendants, and any entities having any ownership or control over the marketplace stores

       operated by Walmart and all other Defendants identified in the Amended Complaint, and

       any other accounts under the operation or control of the individuals operating the

       foregoing accounts, including all known contact information and all associated e-mail

       addresses;

       b.      the nature of Walmart and all other Defendants’ and all associated sales, methods

       of payment for services and financial information, including, without limitation,

       identifying information associated with the Online Marketplaces, Domain Names, and

       Walmart and all other Defendants’ financial accounts, as well as providing a full
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       accounting of Walmart and all other Defendants’ sales and listing history related to their

       respective Online Marketplaces and Domain Names; and

       c.      any financial accounts owned or controlled by Walmart and all other Defendants,

       including their agents, servants, employees, confederates, attorneys, and any persons

       acting in concert or participation with them, including such accounts residing with or

       under the control of any banks, savings and loan associations, payment processors or

       other financial institutions, including, without limitation, PayPal, Alipay, Wish.com,

       Amazon Pay, or other merchant account providers, payment providers, third party

       processors, and credit card associations (e.g., MasterCard and VISA).

3.     Walmart and all other Defendants identified in the Amended Complaint and any third

parties with actual notice shall, within five business days after receipt of such notice disable any

and all accounts and or services used by Walmart and all other Defendants identified in the

Amended Complaint to market, advertise, sell and/or offer for sale any goods that infringe the

Design Patent, including any infringing goods or colorable imitations thereof.

4.     Walmart and all other Defendants identified in the Amended Complaint and their

officers, affiliates, agents, and employees shall be restrained and enjoined from transferring or

disposing of any monies or assets until further ordered by this Court.

5.     Any Third Party Providers, including PayPal Holdings, Inc. (“PayPal”), Alipay,

Payoneer.com, eBay Inc., Wish.com, and Amazon Pay, shall, within five (5) business days of

receipt of this Order:

       a. locate all accounts and funds connected to Walmart and all other Defendants’ Seller

            Aliases, Online Marketplaces and Domain Names, including, but not limited to, any

            financial accounts connected to the information listed in Schedule A hereto, the e-
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           mail addresses identified, and any e-mail addresses provided for Defendants by third

           parties; and

       b. restrain and enjoin any such accounts or funds from transferring or disposing of any

           money or other of Walmart and all other Defendants’ assets until further ordered by

           this Court.

6.     Plaintiff is authorized to issue expedited written discovery, pursuant to the Federal Rules

of Civil Procedure 33, 34 and 36, related to:

       a. the identities and locations of Walmart and all other Defendants, their agents,

           servants, employees, confederates, attorneys, and any persons acting in concert or

           participation with them, including all known contact information, including any and

           all associated e-mail addresses; and

       b. the nature of Walmart and all other Defendants’ operations and all associated sales,

           methods of payment for services and financial information, including, without

           limitation, identifying information associated with the Online Marketplaces, Domain

           Names, and Walmart and all other Defendants’ financial accounts, as well as

           providing a full accounting of Walmart and all other Defendants’ sales and listing

           history related to their respective Online Marketplaces and Domain Names.

           Plaintiff is authorized to issue any such expedited discovery requests via e-mail.

           Walmart and all other Defendants shall respond to any such discovery requests within

           three (3) business days of being served via e-mail.

7.     Plaintiff may provide notice of these proceedings to Walmart and all other Defendants

identified in the Amended Complaint, including service of process pursuant to Fed. R. Civ. P.

4(f)(3) and any future motions, by electronically publishing a link to the Amended Complaint,
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this Order and other relevant documents on a website and any e-mail addresses provided for

Walmart and all other Defendants identified in the Amended Complaint by third parties that

includes a link to said website. The Clerk of the Court is directed to issue a single original

summons in the name of “Walmart and all other Defendants identified in the Amended

Complaint” that shall apply to all Defendants. The combination of providing notice via electronic

publication or e-mail, along with any notice that Walmart and all other Defendants identified in

the Amended Complaint receive from domain name registrars and payment processors, shall

constitute notice reasonably calculated under all circumstances to apprise Walmart and all other

Defendants identified in the Amended Complaint of the pendency of the action and afford them

the opportunity to present their objections

8.       That Plaintiff’s bond of $10,000 shall remain with the Court until a final judgment is

entered in this matter or until this Preliminary Injunction is terminated.

9.       Walmart and all other Defendants identified in the Amended Complaint that are subject

to this Order may appear and move to dissolve or modify the Order as permitted by and in

compliance with the Federal Rules of Civil Procedure and Northern District of Illinois Local

Rules.

10.      Plaintiff’s Amended Complaint (Dkt. No. 4), Ex Parte Motion for Entry of a Temporary

Restraining Order (Dkt. No. 3), Sealed Temporary Restraining Order (Dkt. No. 9), and all other

sealed docket entries and any attachments thereto are hereby unsealed.




                                               __________________________________________
                                                           U.S. District Court Judge
                                                           Dated: 6/22/2022
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34      66jiangyujun  https://www.wish.com/search/flag%20holder/product/618dd4692765b
                      2339150484a?source=search&position=860&share=web
35      aimili        https://www.wish.com/search/flag%20holder/product/61921cf666e482
                      bb3658201f?source=search&position=943&share=web
36      babaeight     https://www.wish.com/search/flag%20holder/product/618c09e7c3f52d
                      9fafe856b7?source=search&position=717&share=web
37      BABYSEE       https://www.wish.com/search/flag%20holder/product/5f2ba67800d768
                      003ff94281?source=search&position=891&share=web
38      Billymore     https://www.wish.com/search/flag%20holder/product/60b5d07e67fd8d
                      577abec163?source=search&position=34&share=web
39      Butterfly's   https://www.wish.com/search/flag%20holder/product/5f47633f4a0aa8
        shop          004145c02e?source=search&position=722&share=web
40      Caste LLPC    https://www.wish.com/search/flag%20holder/product/5f2b9f34a38164
                      00505c4a83?source=search&position=696&share=web
41      casualshoppm https://www.wish.com/search/flag%20holder/product/5f730cbee1af3f1
        all           fabc6408a?source=search&position=693&share=web
42      cckruer       https://www.wish.com/search/flag%20holder/product/619adc99e8e27b
                      8150174a59?source=search&position=210&share=web
43      Charles'      https://www.wish.com/search/flag%20holder/product/5f634138e14e17
        House         17afe8a382?source=search&position=942&share=web
44      cherlen       https://www.wish.com/search/flag%20holder/product/6193930830700
                      6afba2844ef?source=search&position=940&share=web
45      colaswag      https://www.wish.com/search/flag%20holder/product/619c318e72a1f0
                      728775ef63?source=search&position=140&share=web
46      Crazy flag    https://www.wish.com/search/flag%20holder/product/60a37025a1a4cd
        Shop          8d229de284?source=search&position=755&share=web
47      Dilemma       https://www.wish.com/search/flag%20holder/product/5f4a191c907a1f
                      0039746261?source=search&position=400&share=web
48      diskday       https://www.wish.com/search/flag%20holder/product/60f839e2dcd357
                      8004a5fa86?source=search&position=894&share=web
49      dream_studio https://www.wish.com/search/flag%20holder/product/5d405c42338f30
                      03ccac1a2c?source=search&position=679&share=web
50      Etimefungo    https://www.wish.com/search/flag%20holder/product/5f20e282400324
                      26d5199913?source=search&position=874&share=web
51      fashionhomes https://www.wish.com/search/flag%20holder/product/618c31e03b6a7
                      6839fe17bc1?source=search&position=205&share=web
52      fengyihighdre https://www.wish.com/search/flag%20holder/product/619e48282c80d
        am            5e99d5b0949?source=search&position=908&share=web
53      ganlin        https://www.wish.com/search/flag%20holder/product/6178ed541ce70
                      56c40c8850c?source=search&position=866&share=web
54      Gregory       https://www.wish.com/search/flag%20holder/product/619c1925c8d92
        White         7a33565afd7?source=search&position=855&share=web
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55      Hanyongyous    https://www.wish.com/search/flag%20holder/product/5f082509d0af08
        haaHe          22f51e0235?source=search&position=436&share=web
56      hilarious      https://www.wish.com/search/flag%20holder/product/5f47633ff9ec04
        women          01e9cbdf1e?source=search&position=849&share=web
57      home_garden    https://www.wish.com/search/flag%20holder/product/5e54f473747c41
                       5c64e41367?source=search&position=897&share=web
58      home-mama      https://www.wish.com/search/flag%20holder/product/5f3364252dc7ea
                       003a2a6cb5?source=search&position=749&share=web
59      hoyaog         https://www.wish.com/search/flag%20holder/product/5e9909f23f6d55
                       1fd3990df6?source=search&position=728&share=web
60      I have been in https://www.wish.com/search/flag%20holder/product/5f30a9b68f45c1
        the            ed6337ce31?source=search&position=718&share=web
        construction
        of life
61      Jaffe          https://www.wish.com/search/flag%20holder/product/5fde1058f650b9
                       9995d38d2b?source=search&position=808&share=web
62      Jazmin19       https://www.wish.com/search/flag%20holder/product/6184b97a5793df
                       a517824959?source=search&position=889&share=web
63      jixiantiao     https://www.wish.com/search/flag%20holder/product/618c194bcbebcc
                       ff6722ba41?source=search&position=900&share=web
64      kongfukid      https://www.wish.com/search/flag%20holder/product/618c46e8348a4
                       648ddaa5a6b?source=search&position=733&share=web
65      Krisde xyn     https://www.wish.com/search/flag%20holder/product/5f31fbb0fbd025
                       003af11b17?source=search&position=933&share=web
66      Langwushang https://www.wish.com/search/flag%20holder/product/5f31f9698c7cf0
        mujTy          004af4589a?source=search&position=867&share=web
67      leassou        https://www.wish.com/search/flag%20holder/product/6199a2ea75402
                       3ed62d9b3ab?source=search&position=926&share=web
68      leileixiaospng https://www.wish.com/search/flag%20holder/product/5f680ebc35479d
                       0fed767668?source=search&position=859&share=web
69      les-dessus-    https://www.wish.com/search/flag%20holder/product/5f2cef3af5b4a70
        chics          04cda9b1c?source=search&position=712&share=web
70      liuhaiqingai   https://www.wish.com/search/flag%20holder/product/5d4145fa9f60a3
                       1310e1bdc0?source=search&position=12&share=web
71      liuli_store    https://www.wish.com/search/flag%20holder/product/5e54a8c9c92b1e
                       18c62398bd?source=search&position=844&share=web
72      longyunjian    https://www.wish.com/search/flag%20holder/product/5f335e70b4cf56
                       003ccb470b?source=search&position=935&share=web
73      louyuqiao      https://www.wish.com/search/flag%20holder/product/618c45c75677b
                       7f1075a2313?source=search&position=745&share=web
74      luochon2017 https://www.wish.com/search/flag%20holder/product/60c2bb910ba6a
        nanzhuang      836f8cd0b2d?source=search&position=888&share=web
75      mofashi        https://www.wish.com/search/flag%20holder/product/619e6573e958b
                       3e47ee64ed3?source=search&position=746&share=web
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76      nangua       https://www.wish.com/search/flag%20holder/product/618c803513de7
                     3aa797663e8?source=search&position=846&share=web
77      New Lucky    https://www.wish.com/search/flag%20holder/product/5f2cb846295325
                     004badb9ac?source=search&position=913&share=web
78      quinzmarie   https://www.wish.com/search/flag%20holder/product/6194d9aa3ceb6d
                     368f98a4f0?source=search&position=870&share=web
79      ruoying      https://www.wish.com/search/flag%20holder/product/617b7c44c2d95
                     b73e738928a?source=search&position=865&share=web
80      Ruozhongpin https://www.wish.com/search/flag%20holder/product/5e82e3588e8a3c
        VxH          32d203bc54?source=search&position=929&share=web
81      ShibixianlL  https://www.wish.com/search/flag%20holder/product/5ee45341d8a1ce
                     052e3c39f6?source=search&position=763&share=web
82      Shiyouyawei https://www.wish.com/search/flag%20holder/product/5f28fce9fcc85c6
        Bh           f146aece6?source=search&position=895&share=web
83      Shoes_store  https://www.wish.com/search/flag%20holder/product/5e5f8f022c9b3b
                     05dad5ed70?source=search&position=9&share=web
84      Superecho    https://www.wish.com/search/flag%20holder/product/60efa52f829b88
                     88bd803434?source=search&position=103&share=web
85      tbuueryhe    https://www.wish.com/search/flag%20holder/product/5f49cd3b628307
                     03bf4db94a?source=search&position=45&share=web
86      Trog Linpark https://www.wish.com/search/flag%20holder/product/5f2e27563610a0
                     003c2ac426?source=search&position=3&share=web
87      Try_Everythi https://www.wish.com/search/flag%20holder/product/5d42be5689d06
        ng           61d7b224657?source=search&position=78&share=web
88      Vampire      https://www.wish.com/search/flag%20holder/product/5f48589bc902bc
        Store        003b1fcd6f?source=search&position=843&share=web
89      weiquan      https://www.wish.com/search/flag%20holder/product/618c6df7853888
                     09d5c811a1?source=search&position=72&share=web
90      witcreator@1 https://www.wish.com/search/flag%20holder/product/5f3d57d75f8c7d
        26.com       09b55badcd?source=search&position=93&share=web
91      XiaoJafee    https://www.wish.com/search/flag%20holder/product/5fde104e2e9113
                     b802769fc7?source=search&position=192&share=web
92      xiyoudrink   https://www.wish.com/search/flag%20holder/product/617ce941d7a58
                     9fc7a3376bb?source=search&position=902&share=web
93      yangfan      https://www.wish.com/search/flag%20holder/product/5f6b0a54ac0986
                     1392e8e806?source=search&position=136&share=web
94      yangxueqing https://www.wish.com/search/flag%20holder/product/5d5503fb2d272
                     90275674c48?source=search&position=0&share=web
95      yiyaya       https://www.wish.com/search/flag%20holder/product/618c2722c186d
                     86503d20111?source=search&position=845&share=web
96      you are      https://www.wish.com/search/flag%20holder/product/5f4645e711b7d7
        beauties     684dd26bab?source=search&position=814&share=web
97      yuanxuanfeng https://www.wish.com/search/flag%20holder/product/5f35fcc5e16b8a
        bu           0c07cbe659?source=search&position=292&share=web
98      zhangmeng12 https://www.wish.com/search/flag%20holder/product/618c215c9a79fe
                     4f67e12df6?source=search&position=886&share=web
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99      zhangxiaodud   https://www.wish.com/search/flag%20holder/product/5f28e0b97fcdf7
        u              0041411803?source=search&position=884&share=web
100                    https://www.wish.com/search/flag%20holder/product/5f47633f2b1cc9
        zoukun
                       003af12d87?source=search&position=50&share=web
